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                                                                                    S OFFICE U.S.DIST.COUFF
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                      IN TH E UNITED STA TES D ISTR ICT CO URT                   JULI
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                     FO R TIIE W ESTER N DISTRIC T O F VIR GINIA                :Y.
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                              H ARR ISON BUR G DIW SION


U NITED STATES O F AM ERICA                        Crim inalCaseN o.5:15cr00020-1

V.                                                 ORDER

W ARREN EVA NS,JR.,                                By:V ichaelF.Urbanski
     Petitioner.                                   ChiefU nited States DistrictJudge

       ByjudgmententeredJune16,2016,thecourtconvictedEvansofconspiringtodistribute
heroin,cocaine base,and cocaine hydrochloride;and conspiring to distribute heroin,the use of

whichresultedinseriousbodilyinjuryanddeath,allinviolationof21U.S.C.j846.Thismatter
is currently before the courton Evans'm otion for an extension oftim e to file a direct appeal

(ECFNo.64),GledinFebruary2019.Incriminalcases,adefendantgenerallymustfileanotice
of appealwithin fourteen daysafter the later ofthe entry ofjudgmentorthe filing ofthe
government'snotice ofappeal. Fed.R.App.P.4(b)(1)(A). However,upon a showing of
excusable neglector good cause,the districtcourtm ay extend the tim e in w hich to file a notice

of appealto no m ore than 30 days afterthe tim e for sling a notice of appealexpired. Fed.R.

App.P.4(1944). Inthiscase,themotionforan extensionwast
                                                     .5ledwellbeyondthetimeframe
in which thedistrictcourtispermitted to extepdthetimetot5leanotice ofappeal.Accordingly,
it is hereby OR DERED thatEvans'm otion for an extension is DENIED . How ever,inasm uch

asitappearsthatEvansisattempting to challenge hisconviction and/or sentence based on the

alleged ineffective assistance of counsel,he is hereby notified thatthe courtintends to address

themotion asamotion to vacate,setaside,orcorrectsentence,pursuantto 28U.S.C.j2255.
       Undera decision by the Suprem e Courtofthe United States,the courtm ustofferEvans




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an opportunity to electw hetherornothe w ishesthe courtto addressthe docum ent as a m otion

arisingunderj2255.SeeCastrov.United States,540U.S.375(2003).PursuanttoCastro,the
courtm ust advise Evans of certain circum stances. First,a federalinm ate w ho wishesto file a

j2255 motion mustnormally do so within one year ofthe date upon which the judgment
becomes finalupon completion of directappealproceedings. 28 U.S.C.j225549. lfthe
defendantdoesnot appealthe trialcourt'sjudgment,thejudgmentgenerally becomes final
fourteen daysaherentry offinaljudgmentwhenthedefendant'sopportunityto appealexpires.
SeeFed.R.App.P.4(b).lfthedefendantdoesappeal,thejudgmentbecomesfinalninety days
from thedateoftheUnited StatesCourtofAppealsfortheFourthCircuit'sjudgmentaftsnning
thejudgmentoronthedatewhen theUnited StatesSupreme Courtmakesitsfinaldecision in
any çeliorariproceedings a defendantmay pursue. See Clav v.United States, 537 U .S.522,
                                                               .




524-25(2003). Occasionally,apetitionermaydemonstratecircumstancesrequiringthecourtto
calculate the one year statute of lim itations from a different date,such as the date upon which

petitioner discovers new evidence or the date on which a new rule of law applicable to
petitioner'scasew asrecognized by the Suprem e Court.l

        Second,onceapetitionerhasfiled one j 2255 motion challenging a conviction and/or
sentence,apetitionerm ustapply forcertification from the United StatesCourtofAppeals forthe


1Paragraph(9 ofj2255readsasfollows:
A l-yearperiod oflimitation shallapply to a motion underthissection. Thelimitation period shallnm from the
latestof-
        (1)thedateonwhichthejudgmentofconvictionbecomesGnal;
        (2)thedateon whichtheimpedimentto makingamotion createdbygovernmentalactioninviolationof
        the Constitution or laws ofthe U nited States is rem oved,ifthe movantw ms prevented âom m aking a
        motionby such governm entalaction;
        (3)thedateonwhichtherightassertedwasinitiallyrecognizedbytheSupremeCourt,ifthatrighthasbeen
        newlyrecognizedbytheSupremeCourtandmaderetroactivelrapplicabletocasesoncollateralreview;or
        (4)the dateon whlch the factssupporting theclaim orclalmspresented could havebeen discovered
        throughtheexerciseofduediligence.




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Fourth Circuitinordertofileasecondorsubsequentj2255motion asto thesameconviction
and/orsentence.2 In lightofthis limitation on filing successive j 2255 motions,the court
advisesEvansthatifheelectsto havethecourtaddressthemotion asaj2255motion,hemay
alsowishtoincludeanyothernecessaryclaim uponwhichhebelievesthejudgmentisinvalidor
unconstimtional. However,ifEvans has additiohalgrounds and fails to amend,such claims

raised in a later j2255 motion would be dismissed assuccessiveunlessEvansGrstreceived
certifcation from the United States CourtofAppeals forthe Fourth Circuitto file a successive

motion. Moreover,Rule2@)oftheRulesGoverning 52255Proceedingsrequiresamotion to
vacate under j2255 to be signed under penalty of perjury and to substantially follow the
standard form . A ccordingly,itisfurtherO RDERED that:

       Themotion (ECF No.64)ishereby CONDITIONM LY FILED asa j 2255 motion
       and Evans is hereby D IRECTED to subm itto the courtw ithin fourteen days from the

       entry ofthisOrdereithera)an objectiontothecourt'sintention toaddresstheletterasa
       motion pursuantto j2255,orb)acompleted j2255motion form (ENCLOSED)signed
       underpenalty ofperjury to havethe courtconsiderthe claimsunder j2255. Evans'
       failure to com ply w ith this order w illresultin the dism issalofthe conditionally filed

       j2255actionwithoutprejudice.



2Paragraph(h)ofj2255readsasfollows:
        A secondorsuccessivemotion mustbecertitied asprovided in (28U.S.C.j)2244 by apanelofthe
appropriatecourtofagpealstocontain-
       (1) newly dlscoveredevidencethat,ifprovenandviewed inlightoftheevidenceasawhole,wouldbe
       sufficientto establish byclearandconvincing evidencethatno reasonablefactfinderwouldhavefoundthe
       movantguilty oftheoffense;or
       (2)anew ruleofconstitutionallaw,maderetroactivetocasesoncollateralreview bytheSupremeCourt,
       thatwa.
             spreviously unavailable.




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   2. Evans shallnotify the court im m ediately upon petitioner's transfer or release and shall

      provide a new address,and failure to notify the courtof such a change of address w ill

      resultin dism issalofthiscase.

      Evans isadvised thathe m ustinclude the above referenced case num berin any docum ent

      thatplaintiffsubm itsto the courtrelated tothisaction. A1lsubmissionsmustbelegible,

      written on one side ofthe paperonly,w ith atleastone-inch ofclear space on al1sides of

      the page. In any documentsubm itted to the courq pursuantto LocalRule 8 and the

      FederalRules of CivilProcedure,plaintiff m ust om it,black out,or abbreviate personal

      dataidentiGersasfollows:socialsecuritynumbers(useonlythelastfourdigits),names
      ofminorchildren (useinitials),datesofbirth (listonlythebirthyear),Gnancialaccount
      numbers (listonly the lastfourdigits),and home addresses (listonly city and state).
      Subm issiopsthatdo notçom ply w ith thisparagraph m ay be returned to petitionerw ithout

      being entered by the court. A llm ailed pleadings should be sentto:Clerk,U .S.D istrict

      Courq210Franklin Road,SW ,Suite540,Roanoke,VA 24011-2208.

      In accordancewith aStanding Orderofthe Courq a1lnon-dispositivemattersin thiscase

      are referred to aUnited StatesM agistrate Judge.

       TheClerk shallsend a copy ofthisprderto petitioner.
                       3               m   l
       EN TER : This          day of ' rrzlav2019.

                                                     4 / .m 44..4 /.W                  .;
                                                     Chiefunited StatesDistrictJudge




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